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     TERRENCE MERCADAL
7    and JARED ROBINET
8

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10                            UNITED STATES DISTRICT COURT
11                           EASTERN DISTRICT OF CALIFORNIA
12

13    STEPHEN CLARK; SE'QUETTE CLARK;              Case No.: 2:19-cv-00171-JAM-EFB
      A.C., a minor, by and through his Guardian
14    Ad Litem, RAJNEESH MANNI, C.C., a            ORDER re STIPULATION TO BOTH
                                                   EXTEND THE DEADLINE, AND
15    minor, by and through his Guardian Ad        WAIVE THE NOTICE TIME, relating
      Litem, RAJNEESH MANNI; SEQUITY               to SUBPOENA FOR DEPOSITION
16    EDDY THOMPSON; and TOMMY LEE                 TESTIMONY OF WITNESS SALENA
      THOMPSON                                     MANNI ONLY
17
                     Plaintiffs,
18

19         vs.

20    CITY OF SACRAMENTO, TERRENCE
      MERCADEL; JARED ROBINET; and
21    DOES 1-10, inclusive,
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                     Defendants.
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                                      [PROPOSED] ORDER
     1102541
         Case 2:19-cv-00171-JAM-JDP Document 75 Filed 01/12/22 Page 2 of 2


1         TO ALL INTERESTED PARTIES AND THEIR COUNSEL OF RECORD:

2    The parties having stipulated, and good cause having been shown, IT IS HEREBY

3    ORDERED that both the December 27, 2021 “Last Day to Reasonably Notice a Deposition”

4    as calculated based on the January 14, 2022 close of discovery pursuant to the Scheduling

5    Order [Doc. #67], as well as the “Last Day to Reasonably Notice a Deposition” as calculated

6    based on the date of deposition (pertaining to the deposition testimony of witness Salina Manni

7    only), be modified, by continuing the “Last Day to Reasonably Notice a Deposition” to

8    January 11, 2022, and by waiving the notice time relating to the Subpoena for Deposition

9    Testimony of witness Salina Manni. The parties’ stipulated request is hereby GRANTED.

10        All other pre-trial and trial dates remain in effect.

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12       IT IS SO ORDERED.

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     Dated: January 11, 2022                      /s/ John A. Mendez
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                                                  THE HONORABLE JOHN A. MENDEZ
16                                                UNITED STATES DISTRICT COURT JUDGE

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                                            [PROPOSED] ORDER
     1102541
